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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                          MDL No. 3076
                                     CASE NO. 1:23-md-03076-KMM
   IN RE:

   FTX Cryptocurrency Exchange Collapse Litigation
   ________________________________________________

   THIS DOCUMENT RELATES TO ALL CASES.
                                                                 /




                             MOTION TO WITHDRAW AS COUNSEL

          The undersigned attorneys Stuart Z. Grossman, Esq., and Manuel A. “Alex” Arteaga-

   Gomez, Esq., of the law firm Grossman Roth Yaffa Cohen, P.A., pursuant to S.D. Fla. L.R.

   11.1(d)(3), respectfully move this Honorable Court for leave to withdraw their appearance as co-

   counsel for Plaintiffs in the matter of: Edwin Garrison, et al. on behalf of themselves and all others

   similarly situated v. Sam Bankman-Fried, et al., USDC Case No.: 1:22-cv-23753-KMM.

          In support thereof, the undersigned state:

          1.      The undersigned appeared in this matter as co-counsel at the request of The

   Moskowitz Law Firm, PLLC, to provide it aid and support. There is no further need for the

   undersigned’s services in this matter.

          2.      The undersigned’s withdrawal will not cause any prejudice or delay. The

   Moskowitz Firm, PLLC continues as lead Plaintiffs’ counsel and two other law firms continue to

   serve as Plaintiffs’ co-counsel. All remaining Plaintiffs’ counsel are listed in the case’s online

   electronic docket.
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          WHEREFORE for the foregoing reasons, the undersigned attorneys Stuart Z. Grossman,

   Esq., and Manuel A. “Alex” Arteaga-Gomez, Esq., of the law firm Grossman Roth Yaffa Cohen,

   P.A., respectfully request leave of Court to withdraw as counsel.

          DATED: July 13, 2023.                  Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was filed on July 13, 2023,

   with the Court via the CM/ECF system, which will send notification of such filing to the following

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